Case 2:12-cr-00400-JAD-GWF     Document 180     Filed 02/06/14   Page 1 of 1

                                                                               1



 1                       UNITED STATES DISTRICT COURT
                              DISTRICT OF NEVADA
 2

 3   UNITED STATES OF AMERICA,          )
                  Plaintiff,            ) Case No. 2:12-cr-400-JAD-GWF
 4                                      )
            vs.                         )
 5                                      )        ORDER TEMPORARILY
     TERRY J. WOLFE,                    )      UNSEALING TRANSCRIPT
 6                Defendant.            )

 7

 8            On February 4, 2014, Felicia Zabin, Transcriber,

 9 received a Transcript Order form requesting a transcript of the

10 Motion Hearing, held on 2/27/2013, from Kevin Stolworthy, Esq.,

11 in which a portion of the hearing was sealed.

12            IT IS THE ORDER OF THE COURT that the sealed transcript

13 shall be unsealed for the limited purpose of providing a copy of

14 the transcript as requested by Kevin Stolworthy, Esq.

15            IT IS FURTHER ORDERED that the sealed transcript shall

16 thereafter be resealed, and a certified copy of the transcript

17 be delivered to the Clerk pursuant to 28, U.S.C., Section

18 753(b), until further order of this Court.

19            IT IS FURTHER ORDERED that the receiving party shall

20 not disclose the sealed contents of the transcript of the

21 proceeding to anyone other than the representatives of the

22 parties directly concerned with this case.

23          DATED this   6th      day of      February   , 2014.

24
                                           GEORGE W. FOLEY, JR.
25                                         United States Magistrate Judge
